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                IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF OKLAHOMA
THE CHEROKEE NATION,                        )
THE CHICKASAW NATION, and                   )
THE CHOCTAW NATION,                         )
                                            )
        Plaintiffs,                         )
                                            )
and                                         )
                                            )
THE CITIZEN POTAWATOMI NATION,              )
THE MUSCOGEE (CREEK) NATION,                )
THE QUAPAW NATION,                          )
THE DELAWARE NATION,                        )
THE COMANCHE NATION,                        )
THE SEMINOLE NATION,                        )
THE OTOE-MISSOURIA TRIBE, and               )
THE WICHITA AND AFFILIATED TRIBES, )
                                            )
        Plaintiffs/Intervenors,             )
                                            )
vs.                                         )   Case No. CIV-19-1198-D
                                            )
J. KEVIN STITT, in his official capacity as )
the Governor of the State of Oklahoma, and  )
ex rel. STATE OF OKLAHOMA, as the real )
party in interest,                          )
                                            )
        Defendants/Counterclaimants.        )




OKLAHOMA’S MOTION TO CLARIFY PARTIES’ AUTHORITY TO COMPLY
    WITH COURT’S MEDIATION ORDER AND BRIEF IN SUPPORT
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       Defendant/Counterclaimant J. Kevin Stitt, in his official capacity as Governor of the

State of Oklahoma (the “Governor”) and ex rel. State of Oklahoma (the “State”) as the real

party in interest (collectively, “Oklahoma”), submits this Motion to Clarify Parties’

Authority to Comply with Court’s Mediation Order (the “Motion”).

       Plaintiff and intervenor Indian tribes (collectively, the “Tribes”) initiated this

lawsuit, against the Governor alone, seeking “declaratory judgment of the legal effect of

the ‘shall automatically renew’ clause of Part 15.B. of a Tribal-State gaming compact,”

which they entered with the State pursuant to the Indian Gaming Regulatory Act, 25 U.S.C.

§§ 2701-2721 (“IGRA”). Complaint (Doc. No. 1), ¶ 1. As part of these proceedings, the

Court ordered the parties to mediation, which led to the Governor negotiating and entering

into new gaming compacts with two of the Tribes. Subsequently, Oklahoma Attorney

General Mike Hunter and many of the non-settling Tribes have taken a position that

questions the Governor’s authority to bind the State to new gaming compacts that address

forms of gaming “prohibited by state law,” specifically challenging these compacts. This

position implies that complete resolution may not be possible, as it suggests that the

Oklahoma Legislature must control the scope of settlement discussions. This position is

wholly inconsistent with the concept of Tribal sovereignty, the IGRA scheme, and

Oklahoma’s Constitution and statutes.

                              FACTUAL BACKGROUND

       1.       On February 10, 2020, based upon its authority under FED. R. CIV. P. 16,

and finding that “negotiations within the framework of an early mediation proceeding

provide a means for efficient initial case management in this matter,” the Court ordered the


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parties to participate in mediation to “facilitate the parties’ negotiation of a resolution of

the issues implicated by this lawsuit” (Doc. No. 31, at 1, 2, ¶ 4).

       2.      The State, through the Governor and representatives duly authorized by the

Governor to negotiate on his behalf, participated in good faith settlement negotiations with

each of the Tribes as required by the Court’s order.

       3.      One of the Tribes publicly reported that “[d]uring the mediation, the

Governor proposed a new compact to various Tribes not involved in the litigation, and a

few of the Tribes (but not all) participating in the litigation.” See Exhibit 1, Letter to

Secretary Bernhardt from Wichita and Affiliated Tribes, at 2.1

       4.      As a result of the settlement discussions in the Court-ordered mediation, the

Governor reached a settlement with the Otoe-Missouria Tribe (the “Otoe”) and the

Comanche Nation (the “Comanche”), which resolved all issues between them in the

lawsuit. On April 21, 2020, the Otoe, the Comanche, and the State filed a joint motion

announcing that the State had reached a settlement with these two Indian tribes and seeking

leave to file stipulations of dismissal with prejudice (Doc. No. 120). On the same day, these

tribes and the Governor signed and executed new State-Tribal gaming compacts (the “2020

Compacts”) as part of the settlement of the litigation and submitted these new compacts to

the U.S. Department of Interior (“DOI”) for approval. See Exhibit 2, Letter to Secretary

Bernhardt from Otoe/Comanche, at 3; Exhibit 3, Comanche 2020 Compact.




1
 The Court’s Order expressly imposed certain confidentiality obligations on the parties.
See Doc. No. 31, at 3.

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      5.      On April 24, 2020, eight of the Tribes filed a “qualified objection” to the

dismissal, contending that the 2020 Compacts “include terms that are not permitted by

[IGRA]” (Doc. No. 123, ¶ 7). Notwithstanding, the Court entered the dismissals, stating

that “any new compact that may have been made will not affect the Court’s determination”

regarding the continued effect of prior compacts (Doc. No. 124, at 2).

      6.      On May 5, 2020, AG Hunter2 wrote to DOI requesting that the 2020

Compacts be disapproved and attached an opinion he issued the same day, concluding that

“[t]he Governor lacks authority to enter into and bind the State to compacts with Indian

tribes that authorize gaming activity prohibited by state law” (the “2020 AG Opinion”).

See Exhibit 6, Letter to Secretary Bernhardt from AG Hunter; OK AG 2020-08, ¶ 22.

      7.      Three of the Tribes (the Chickasaw Nation, the Quapaw Nation, and the

Wichita and Affiliated Tribes) also asked that DOI disapprove the new gaming compacts.

See Exhibit 7, Letter to Secretary Bernhardt from Chickasaw Nation; Exhibit 8, Letter to

Assistant Secretary of Indian Affairs from Quapaw Nation; Ex. 1 (Wichita Letter). The

Chickasaw Nation and the Wichita and Affiliated Tribes both adopt the position that the

Governor lacks authority to enter into new gaming compacts that address forms of gaming


2
 Before the lawsuit was filed, the Governor had designated AG Hunter to lead negotiations
with compacting Tribes for a period of time. See Complaint, ¶ 53. A copy of the
presentation AG Hunter prepared to frame his discussions with the Tribes in an October
28, 2019 meeting is attached as Exhibit 4. Ultimately, AG Hunter was not permitted by the
Tribes to make his complete presentation, because the State would not first agree to the
Tribes’ legal position on compact renewal – which the Tribes had made a condition of their
participation in negotiations. See Answer to Counterclaims (Doc. No. 38), ¶¶ 41-47. No
member of the Legislature or a designated representative of the Legislature accompanied
AG Hunter to this meeting. The Tribes expressly rejected the AG’s efforts from the
meeting. See Exhibit 5, November 5, 2019 Tribes’ Letter; Complaint, ¶¶ 53, 55.

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not currently permitted by nontribal entities. See Ex. 7 (Chickasaw Letter), Memo, at 9-12;

Ex. 1 (Wichita Letter), at 4-5. Indeed, the Chickasaw objection states that “Governor Stitt

exceeds his State law authority by seeking to ‘make legal that which statute makes

illegal’—namely, the conduct of ‘events wagering’ and house-banked games.” See Ex. 7

(Chickasaw Letter), Memo, at 11.

       8.     On May 7, 2020, the Oklahoma Indian Gaming Association (“OIGA”)3

announced it was suspending the membership of the Otoe and Comanche based upon their

agreement to the 2020 Compacts. See Exhibit 9, OIGA News Release. The OIGA

chairman is quoted as follows: “This was a difficult decision to make, but it was the correct

one. Oklahoma Indian Gaming Association works best when its membership can speak

frankly and with the trust that all members are working together to support our industry as

a whole.” See Exhibit 10, Article from Native News Online. In response to the suspension,

the Otoe Chairman is quoted as follows:

       Each tribe has the right to negotiate the best compact available for their tribal
       government. We still support the intentions of the other tribes to fight for the
       very best compact for their individual governments. I certainly hope as
       negotiations continue, other tribes won’t be singled out for exercising their
       tribal sovereignty.

Id. And the Comanche Chairman is quoted as stating: “I believe the hype of United for

Oklahoma gets lost when a sovereign nation does indeed practice sovereignty.” Id.




3
  The Tribes who are parties to this litigation appear to be members of the OIGA. Indeed,
the OIGA chairman, Matthew Morgan, is the Director of Gaming Affairs for the Chickasaw
Nation, whose revenue from the conduct of Tribal gaming and leasing of gaming machines
to other gaming Tribes in Oklahoma approaches $1 billion annually.

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                          ARGUMENT AND AUTHORITIES

       The Court has ordered the State and the Tribes to participate in early mediation as

part of its initial case management plan for this matter. As Judge Heaton has previously

advised in connection with court-ordered mediation, “[b]oth parties are admonished that

an order for mediation is just that—an order. It is not a suggestion to be ignored at will.”

Switzer v. Much, Shelist, Freed, Denenberg, Ament, Bell & Rubenstein, P.C., 214 F.R.D.

682, 683 (W.D. Okla. 2003). The State has and continues to give the Court’s mediation

order the respect and authority it is due. However, AG Hunter’s opinion and the conduct

of the other Tribes casts doubt on the negotiations. In order to fulfill its obligations to the

Court and to the Tribes, and to continue good-faith settlement negotiations, Oklahoma

seeks this Court’s guidance: (1) affirming the Governor’s authority to negotiate and enter

into new or amended gaming compacts beyond the State’s Model Compact; and (2)

clarifying the Governor’s duty under IGRA to negotiate gaming compacts, if requested by

a Tribe, that address forms of class III gaming not yet legalized for any nontribal entities,

and the Governor’s authority to enter into such compacts that are binding upon the State.

I.     This Court Has Specific and Inherent Authority to Require the Parties’ Good
       Faith Participation in Pretrial Mediation.

       District courts have “both the specific and inherent authority to require attendance

at, and good faith participation in, a settlement conference.” See Switzer, 214 F.R.D. at 688

(citing FED. R. CIV. P. 16(a)(5)). A party who “does not participate in good faith” in a

pretrial settlement conference is subject to sanctions. See FED. R. CIV. P. 16(f)(1)(B); see

also LCvR 16.3(f); Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595 (8th Cir. 2001).



                                              5
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       Under Federal Rule 16, district courts “have explicit authority to require pretrial

conferences to improve the quality of the trial through more preparation or to facilitate the

settlement of the case.” Nick, 270 F.3d at 595, citing FED. R. CIV. P. 16(a); see also

FED. R. CIV. P. 16(c)(2)(I). Further, the district court “may require that a party or its

representative be present or reasonably available by other means to consider possible

settlement.” See FED. R. CIV. P. 16(c)(1). This district’s Local Rules further require

attendance at a court-ordered mediation conference by the named parties and/or certain of

their representatives with “full settlement authority.” See LCVR 16.3(b), (c); see also

Switzer, 214 F.R.D. at 684.4

       Further, “the power to direct parties to produce individuals with full settlement

authority at pretrial settlement conferences is inherent in the district courts.” In re Novak,

932 F.2d 1397, 1407 (11th Cir. 1991). “This applies to the government as well as private

litigants.” In re Stone, 986 F.2d 898, 903 (5th Cir. 1993) (holding that “district courts have

the general inherent power to require a party to have a representative with full settlement

authority present—or at least reasonably and promptly accessible—at pretrial

conferences”); see also Schwartzman, Inc. v. ACF Indus., Inc., 167 F.R.D. 694, 698

(D.N.M. 1996). Accordingly, the Tenth Circuit has held that a party’s authority to agree to



4
  Another district court has held: “‘Attendance’ means to appear in person and participate
directly, not to stand by or participate by telephone. ‘[S]ettlement authority’ means full,
meaningful, authority. A person with settlement authority does not need to pick up the
phone to call anyone else to find out whether he or she can go higher or lower. A person
with settlement authority is ‘the’ decisionmaker. He or she is the person who has authority
to meet the other party’s demand, even if he or she chooses not to do so.” Turner v. Young,
205 F.R.D. 592, 595 (D. Kan. 2002).

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the final terms of an agreement that is the “logical outgrowth” of a mediation session is

implicit and understood. See Nature’s Sunshine Products v. Sunrider Corp., 511 Fed.

Appx. 710, 715–16, 2013 WL 563309 (10th Cir. 2013) (“Indeed, any contrary rule would

impede settlement negotiations.”).

       Implicit in the Court’s mediation order is the requirement that the parties will

negotiate in good faith and participate with full settlement authority. The State, through the

Governor and his designees, has participated in the meditation to date with the

understanding that the Governor is vested with such authority by the Oklahoma

constitution and statutes. The position advanced by the Tribes calls into question the

Governor’s authority to enter an agreement that may be a “logical outgrowth” of mediation

in order to effectuate a settlement here. The analysis provided to DOI by the Chickasaw

Nation is emblematic of the concern:

       The question is not whether a State may negotiate for terms that depart from
       what State law presently allows. The very nature of intergovernmental
       compacting encourages such approach. The problem is not in the negotiating
       but in the entering. IGRA requires Tribes to enter compacts with States, not
       State governors, and to be valid, a compact must be validly entered by those
       officials who have the authority to bind their respective governments to the
       mutual exchange of promises the compact represents. If the parties
       negotiating lack that authority, then their terms must be ratified by others
       who do; after all, as a form of intergovernmental contract, “a compact is not
       valid unless properly authorized,” and as with all such agreements, “parties
       entering into one must assure themselves that each contracting party is
       authorized to enter into the contract.”

See Ex. 7 (Chickasaw Letter), Memo, at 8-9 (emphasis in original); see also Facts 5, 7.

Notwithstanding that they brought this action against the Governor alone, some of the




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Tribes appear to question whether the Governor is the proper party to settle the very dispute

they initiated.

       These Tribes’ objections to the dismissal of the Otoe and Comanche – and to the

approval of the 2020 Compacts – appear designed to undermine Tribal sovereignty and

frustrate other Tribes’ good faith negotiations with the Governor. Moreover, given this

conduct, it is fair to question whether all Plaintiff Tribes are participating in the mediation

in good faith, or are instead undermining the Court’s order by creating a false choice for

other Tribes – “stay with us or we will fight your new compacts and kick you out of our

association for dealing directly with the State” – as experienced by the Otoe and Comanche.

This sentiment – that one litigating sovereign Tribe cannot negotiate and enter into a

resolution of its dispute with the State free of attack and interference from other litigating

Tribes – can only be characterized as contrary to the spirit of the Court’s Mediation Order

and the Parties’ duties thereunder. Indeed, because the Tribes seem to suggest that the full

Oklahoma Legislature must be present at the bargaining table (contrary to a prior AG

Opinion), or must preauthorize the scope of the Governor’s negotiating authority (contrary

to IGRA), the State herein requests that the Court issue an order clarifying that the

Governor has the authority to participate in the mediation and enter into a resolution

binding on the State.

II.    Clarification is Needed that the Governor Has “Full Settlement Authority,”
       since the Governor Alone is Authorized to Negotiate and Enter into Tribal
       Gaming Compacts on Behalf of the State.

       In Oklahoma, the Governor is vested with constitutional and statutory authority to

negotiate and enter compacts with Indian tribes regarding activities on tribal lands. See


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Sheffer v. Buffalo Run Casino, PTE, Inc., 2013 OK 77, ¶ 12, 315 P.3d 359, 364 (“The

Executive Branch of the State of Oklahoma, specifically the Governor, has been and

continues to be the party responsible for negotiating compacts with the sovereign nations

of this state.”); see also Dewberry v. Kulongoski, 406 F. Supp. 2d 1136, 1156 (D. Or. 2005)

(recognizing the authority of Oregon’s Governor to negotiate and execute gaming

compacts with Indian tribes under very similar state constitutional and statutory scheme).

As noted by the Oklahoma Supreme Court, this constitutional authority is derived from

Article VI, Sections 2 and 8. See id., at 364 n.18. Specifically, Okla. Const. art. VI, § 8

provides: “The Governor shall cause the laws of the State to be faithfully executed, and

shall conduct in person or in such manner as may be prescribed by law, all intercourse and

business of the State with other states and with the United States ...”5

       The basis of the Governor’s statutory authority to enter compacts is found in 74 O.S.

§ 1221, which provides:

       1. The Governor is authorized to negotiate and enter into cooperative
       agreements on behalf of this state with federally recognized Indian tribal
       governments within this state to address issues of mutual interest.

       ***

       2. If the cooperative agreements specified and authorized by paragraph 1 of
       this subsection involve trust responsibilities, approval by the Secretary of the
       Interior or designee shall be required.

74 O.S. § 1221(C)(1-2) (emphasis added).


5
  The Governor’s authority is expressly acknowledged in the State-Tribal Gaming Act
(“STGA”). See 3A O.S. § 280 (“The State of Oklahoma through the concurrence of the
Governor after considering the executive prerogatives of that office and the power to
negotiate the terms of a compact between the state and a tribe …”); cited in Sheffer, 315
P.3d 364 n.18.

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       Therefore, under Oklahoma law, it is the Governor – and the Governor alone – who

is authorized to negotiate and enter into compacts with Indian tribes. In 2004, with regard

to the very gaming compacts at issue in this litigation, former AG Drew Edmondson opined

that the Governor alone held the power to enter gaming compacts with Indian tribes – and

any requirement that the Legislature approve a compact negotiated by the Governor would

violate the separation of powers provision of Oklahoma’s Constitution.6 2004 OK AG 27,

¶¶ 27-29; see also 2006 OK AG 39, ¶ 18 (the Oklahoma Boxing Commission lacked the

power to enter an agreement to regulate professional boxing on Indian land, and any such

regulation “must be accomplished through a cooperative agreement (compact) between the

State and the tribe that must be negotiated and entered into by the Governor or the

Governor’s named designee”). By contrast, under 74 O.S. § 1221(C)(3), the Legislature

specifically provided that certain compacts involving the surface water and/or groundwater

resources of the State require legislative consent.

       The 2020 AG Opinion confirms that the authority to negotiate and enter into gaming

compacts in Oklahoma is vested in the Governor without any “requirements of post-hoc

legislative approval.” 2020 OK AG 8, ¶ 10. AG Hunter’s opinion specifically cites the

2004 Opinion, wherein former AG Edmondson opined that the Governor’s authority


6
  As explained by the Oklahoma Supreme Court, “[t]his separation of powers provision
mandates that each department of the government shall be kept independent in the sense
that the acts of each shall never be controlled by or subjected, directly or indirectly, to the
coercive influences of either of the other departments.” In re Oklahoma Dep't of Transp.,
2002 OK 74, ¶ 8, 64 P.3d 546, 549, citing York v. Turpen, 1984 OK 26, ¶ 9, 681 P.2d 763,
767 (holding that legislative oversight committees with the power to review and approve
grants issued by the Department of Transportation violated the separation of powers
provision).

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derives from statute – and not the Oklahoma Constitution – but does not expressly adopt

that position. Id., ¶ 9. To the contrary, in withdrawing from the pre-lawsuit compact

discussion with the Tribes, AG Hunter’s office released a statement confirming the

Governor’s exclusive constitutional and statutory authority to negotiate and enter such

gaming compacts:

       Under Article VI, Section 8 of the Oklahoma Constitution and 74.O.S.
       S1221, the governor is given authority to enter into agreements with the
       federally recognized tribes. Accordingly, the attorney general and the
       governor have agreed to return the lead agency over tribal gaming compact
       negotiations to the Governor’s Office. This will allow the governor and his
       legal counsel to negotiate directly with tribes to hopefully develop a path
       forward.

See Exhibit 11, Article from KFOR.com.

       There can be no doubt, therefore, that the Governor alone has the authority to

negotiate and enter into gaming compacts with the Tribes. Notwithstanding, AG Hunter’s

recent opinion goes on to state that “[t]he Governor lacks authority to enter into and bind

the State to compacts with Indian tribes that authorize gaming activity prohibited by state

law.” 2020 OK AG 8, ¶ 22. In his letter to DOI, AG Hunter issued a not-so-subtle warning

to the Governor that “state officers are bound by these Attorney General opinions until

relieved of that duty” by the courts. See Ex. 6 (AG Hunter Letter), at 1, citing State ex rel.

York v. Turpen, 1984 OK 26, 681 P.2d 763; see also State ex rel. Fent v. State ex rel.

Oklahoma Water Res. Bd., 2003 OK 29, 66 P.3d 432, 441 (recognizing an exception when

the Attorney General finds a “constitutional infirmity”). Because the 2020 AG Opinion

states that the question to which the Attorney General was responding “implicates core




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notions of our constitutional structure,” and cited both statutory and constitutional

authority, the York exception is applicable here, and the opinion is merely advisory.7

       Nonetheless, because the letter to DOI and the 2020 AG Opinion purport to limit

the Governor’s authority to negotiate and enter into gaming compacts as part of the court-

ordered mediation, as well as with other non-party Indian tribes, Oklahoma seeks the

Court’s guidance. Specifically, clarification is needed as to the Governor’s authority to

bind the State to compact provisions related to exclusivity, rates, covered games, and other

significant subjects that differ from or are not found in the Model Compact.

III.   Under Oklahoma’s Regulatory (Rather than Prohibitory) Approach to Class
       III Gaming, the Governor has a Duty under IGRA to Negotiate with Tribes on
       Forms of Gaming not yet Legalized for Nontribal Entities.

       A.     The Governor Must Mediate and Negotiate through the Lens of IGRA.

       IGRA provides that class III gaming activities “shall be lawful on Indian lands only

if,” among other things, it is “located in a State that permits such gaming for any purpose

by any person, organization, or entity” and “conducted in conformance with a Tribal-State

compact . . . that is in effect.” Id. § 2710(d)(1)(B), (C) (emphasis added). Indian tribes may

request the State enter into a compact governing the conduct of “such gaming,” and the

State must in turn negotiate in good faith. Id. § 2710(d)(3)(A). In 2004, the Model Tribal

Gaming Compact (“Model Compact”) was negotiated between the State and various tribes




7
  Opinions issued by the Attorney General “should be followed.” Rasure v. Sparks, 1919
OK 231, 183 P. 495. However, while Attorney General’s opinions are generally binding
upon state officials whom they affect, they are “always merely advisory on a constitutional
issue.” Hendrick v. Walters, 1993 OK 162, 865 P.2d 1232, 1243 (emphasis in original).

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and incorporated into legislation that became the STGA, 3A O.S. § 261 et seq., as an offer

of a gaming compact under IGRA. See 3A O.S. § 280.

      What forms of class III gaming a state “permits” within the meaning of

§ 2710(d)(1)(B) of IGRA is “ultimately a federal question.” State ex rel. Clark v. Johnson,

904 P.2d 11, 20 (N.M. 1995); see also Kansas ex rel. Stephan v. Finney, 93-4098-SAC,

1993 WL 192809, at *5 (D. Kan. May 12, 1993). Further, “[i]t is well-established that

IGRA, as a matter of federal law, preempts state regulation which ‘interferes or is

incompatible with federal or tribal interests.’” Dewberry, 406 F. Supp. 2d at 1152, quoting

Confederated Tribes of Siletz Indians v. Oregon, 143 F.3d 481, 487 (9th Cir.1998) (citation

and quotation marks omitted).

      When the Court invoked its specific and inherent authority to order the parties to

mediation here, it did so against this IGRA backdrop. The Tribes are sovereign nations,

entitled to conduct their own affairs on their lands, subject to federal law. However, no

Tribe can lawfully engage in class III gaming without a Tribal-State compact that is in

effect. Thus, because a compact is necessary to make continued tribal class III gaming in

Oklahoma lawful, it is certainly a “logical outgrowth” of mediation here.

      B.     Nothing in IGRA or State law precludes the Governor from
             negotiating or entering into compacts with the Tribes that vary from
             the Model Compact.

      Although the AG’s opinion turns on the Governor’s authority to enter into compacts

addressing additional forms of gaming, the opinion ultimately casts doubt on the

Governor’s authority to bind the State to any compact whose terms differ from or are not

found in the Model Compact. But the Governor’s authority to bind the State to terms that


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differ from those found in the Model Compact is clear from the language of the STGA and

the Compact itself. See 3A O.S. § 280 (stating that “[n]o tribe shall be required to agree to

terms different than the terms set forth in the [Model Compact]…,” but not precluding a

tribe from doing so) (emphasis added); 3A O.S. § 281, Part 15(B) (authorized the Governor

to request a compacting tribe to renegotiate the exclusivity provisions at the end of the

term).

         The 2020 AG Opinion identifies numerous ways in which the 2020 Compacts differ

from the Model Compact, including “different processes for adding new games, a different

dispute resolution clause, and different audit and compliance provisions.” 2020 OK AG 8,

¶ 6. There is no dispute that these topics were the subject of the Model Compact, and

therefore, they are the appropriate subject of negotiation. But AG Hunter expressly

declined to offer any opinion on the Governor’s authority to enter gaming compacts that

contain these different provisions or differ from the Model Compact only as to exclusivity

(see 2020 OK AG 8, ¶ 13 n.6), thus casting doubt as to such authority.

         Parts 11(A) and 11(E) of the Model Compact contain “exclusivity” provisions that:

(1) guarantee tribes “substantial exclusivity,” i.e., the ability to operate certain class III

gaming with limited competition from nontribal entities at specified locations with a set

numbers of machines; (2) obligate signatory tribes to pay fees to the State in exchange for

such substantial exclusivity; and (3) obligate the State to pay liquidated damages in the

event of certain breaches of these exclusivity provisions. See 3A O.S. § 281, Parts 11(A),

11(E). Indeed, citing Oklahoma’s disproportionately lower gross revenue sharing from

tribal gaming among states with the most total revenues (Oklahoma ranks second only to


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California in total tribal gaming revenue), AG Hunter specifically identified “increased

total revenue share payments” to the State in return for “expanded gaming opportunities

for the Tribes” as opportunities for 2020 gaming compacts. See Ex. 4 (AG Hunter’s

Presentation), Slides 8-11.

       Similarly, as to the dispute resolution provisions, for example, the Tenth Circuit has

expressly held that Part 12 of the Model Compact related to arbitration is unenforceable.

See Citizen Potawatomi Nation v. Oklahoma, 881 F.3d 1226, 1228 (10th Cir.), cert. denied,

139 S. Ct. 375 (2018). Certainly, the Governor could not be required to negotiate and enter

into gaming compacts identical to Part 12 of the Model Compact, knowing that such

arbitration scheme is unenforceable. Indeed, “[r]epairing the dispute resolution provisions”

was specifically identified as a goal in AG Hunter’s presentation. See Ex. 4 (AG Hunter’s

Presentation), Slide 12.

       If the Governor lacks authority to enter into new compacts whose exclusivity

provisions differed from those in the Model Compact, it would render his express authority

to request renegotiation with a signatory tribe illusory. More broadly, any requirement that

the Governor can enter compacts only in the form of the Model Compact would allow the

Legislature to perform an end-run around the separation of powers provision of the

Oklahoma Constitution, which AG Hunter and former AG Edmondson both indicated

would be violated if compacts negotiated and entered into by the Governor were the subject

of subsequent legislative approval. Moreover, there is no indication in the 2020 AG

Opinion – nor could there be – that a compact with different exclusivity, dispute resolution,

or auditing provisions would somehow “authorize gaming activity prohibited by state law.”


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Conversely, in the 2020 Compacts, the Governor is not attempting to change state law –

those Compacts are expressly limited to tribal activities on tribal lands.

       Because the Governor is expressly authorized to negotiate and enter into gaming

compacts with the Tribes that contain provisions which differ from those found in the

Model Compact, he has full settlement authority to participate in mediation, the result of

which may be new or amended gaming compacts not identical to the Model Compact, and

the Court should issue an order affirming such authority.

       C.       IGRA Mandates that the State Negotiate in Good Faith, even if Such
                Negotiations Address Forms of Gaming Not Currently Authorized for
                Nontribal Entities.

       The main focus of the 2020 AG Opinion is the scope of gaming activity addressed

in Tribal-State compacts. Broadly, AG Hunter states that the Governor cannot bind the

State to a compact that would “authorize gaming activity prohibited by state law.” 2020

OK AG 8, ¶ 22. More specifically, the Attorney General finds that house-banked card and

table games and event wagering are prohibited by state criminal law and, therefore, cannot

be the subject of a Tribal-State gaming compact. Id., ¶ 13. This position adopted by the

Attorney General in May 2020 is particularly curious in light of his October 2019

presentation, in which he identified several opportunities for “expanding gaming” in “2020

Gaming Compacts,” specifically:

           Full casino-style Class III gaming, including house-banked games

           Sports Wagering in gaming facilities

           Fantasy Gaming in gaming facilities




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See Ex. 4 (AG Hunter’s Presentation), Slide 7.8 Indeed, the presentation concludes with a

proposed “path forward,” which specifically includes discussions on presumably new and

different 2020 Gaming Compacts (with no mention of any required additional legislative

approval). In any event, his opinion raises several issues involving IGRA and the scope of

the Governor’s authority to enter gaming compacts with Tribes that bind the State and

permit class III gaming on Indian lands.

       IGRA defines the scope of gaming subject to a compact and, specifically, requires

a state to negotiate on gaming if the state “permits such gaming for any purpose by any

person, organization, or entity.” 25 U.S.C. § 2710(d)(1)(B) (emphasis added). As the Tenth

Circuit has held, “Congress intended to permit a particular gaming activity, even if

conducted in a manner inconsistent with state law, if the state law merely regulated, as

opposed to completely barred, that particular gaming activity.” N. Arapaho Tribe v. State

of Wyoming, 389 F.3d 1308, 1312 (10th Cir. 2004) (emphasis in original); see also United

States v. Sisseton-Wahpeton Sioux Tribe, 897 F.2d 358, 365 (8th Cir. 1990). This

“prohibitory/regulatory” dichotomy has its origins in the Supreme Court’s seminal decision

in California v. Cabazon Band of Mission Indians, 480 U.S. 202, 209-10 (1988) (adopting

the rule that “if the intent of a state law is generally to prohibit certain conduct, it falls

within Pub.L. 280’s grant of criminal jurisdiction, but if the state law generally permits the

conduct at issue, subject to regulation, it must be classified as civil/regulatory and Pub.L.


8
 Indeed, it is ironic that AG Hunter’s presentation when he was negotiating with the Tribes
on behalf of the Governor included event wagering and house-banked table games with no
mention that he did not have the authority to negotiate as to such gaming without legislative
approval, as his subsequent opinion suggests.

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280 does not authorize its enforcement on an Indian reservation.”); see also Mashantucket

Pequot Tribe v. State of Conn., 913 F.2d 1024, 1031 (2d Cir. 1990) (applying the Carbazon

prohibitory/regulatory test to determine whether a state permits class III gaming under

IGRA). A state “permits such gaming” if class III gaming is subject to regulation; if the

state instead criminally prohibits all such gaming for all persons for any purpose, it is

beyond the scope of IGRA.9

       In the leading Tenth Circuit case, the Northern Arapaho Tribe challenged

Wyoming’s refusal to negotiate in good faith regarding certain types of class III gaming.

The court adopted the prohibitory/regulatory test, holding that the primary issue in such a

case “is whether ‘such gaming activity’ in which the Northern Arapaho Tribe wishes to

engage is ‘prohibited’ or merely regulated by the state of Wyoming.” Id. at 1310. The court

made it clear that in a state such as Wyoming that regulates, rather than prohibits, class III

gaming, the requirement of IGRA Section 2710(d)(1)(B) is met, and “[t]he state is therefore

clearly required to conduct negotiations with the Tribe concerning the full gamut of” such

games Id. at 1312.

       Like Wyoming, Oklahoma regulates, rather than prohibits, class III gaming, as

confirmed by opinions of the Office of Attorney General. In 1989, the year after Congress

enacted IGRA, former AG Robert Henry opined that pari-mutuel wagering on horse races



9
  Disputes involving the scope of the phrase “such gaming” typically arise when an Indian
tribe challenges the State’s refusal to negotiate in good faith, or to enter into, a compact
authorizing class III gaming, or certain specific class III games, as required by 25 U.S.C.
§ 2710(d)(3)(A). See also 25 U.S.C. § 2710(d)(7)(A)(i) (granting jurisdiction in the federal
district courts over such disputes).

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was the proper subject of a compact under 74 O.S. § 1221, stating that “a plain reading of

the statute leads one to the conclusion that the Governor possesses the power to enter into

compacts with certain Indian tribal governments about issues of mutual interest, such as

pari-mutuel wagering on horse races, if other prerequisites are met.” 1989 OK AG 41, ¶ 4.

However, the opinion incorrectly found that because Oklahoma law does not expressly

permit pari-mutuel wagering by nontribal entities other than at racetrack locations, off-

track pari-mutuel wagering was not a proper subject of a gaming compact. Id. ¶ 19. Several

years later, in 1993, former AG Susan Loving addressed this issue again in light of case

law interpreting IGRA, including the prohibitory/regulatory test, and expressly withdrew

the 1989 opinion. 1993 OK AG 1, ¶ 64. In short, the position advanced by certain of the

Tribes now has been flatly rejected given developments in controlling case law.

Recognizing that Oklahoma law strictly regulates pari-mutuel wagering, but does not

entirely prohibit it, Oklahoma was required by IGRA to negotiate with Indian tribes on

pari-mutuel wagering, even if conducted at off-track locations. Id. Because at least some

forms of class III gaming are permitted in Oklahoma (meaning that Oklahoma “regulates”

rather than “prohibits” class III gaming), the State is required by IGRA to conduct good

faith negotiations with Indian tribes regarding compacts authorizing them to conduct class

III games. In Oklahoma, the Governor (or his designee) alone is authorized to conduct such

negotiations, and to enter into such compacts.

              1.    IGRA’s categorical approach is applicable.

       There is a circuit split as to which forms of games a state is required to negotiate

with Indian tribes. The “categorical approach” (adopted by the Second Circuit) provides


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that if the state permits any form of class III gaming, the state must negotiate all forms of

class III gaming, since the state is merely “regulating,” rather than “prohibiting,” this type

of gaming. See Mashantucket Pequot Tribe, 913 F.2d at 1031-32. Under the “game-

specific” approach (adopted by the Eighth and Ninth Circuits), if the state allows a

particular game for any purpose, the state must negotiate with the tribe over that specific

game. See Cheyenne River Sioux Tribe v. State of S.D., 3 F.3d 273, 279 (8th Cir. 1993);

Rumsey Indian Rancheria of Wintun Indians v. Wilson, 64 F.3d 1250, 1257-58 (9th Cir.

1994). The Tenth Circuit declined to adopt one test over the other, finding it unnecessary

because of Wyoming’s broad statute permitting “any game, wager, or transaction” for

charitable purposes.10 See N. Arapaho Tribe, 389 F.3d at 1311.

       The categorical approach is most faithful to IGRA’s plain language, which broadly

refers to “class III” gaming activities, not particular class III games:

       Class III gaming activities shall be lawful on Indian lands only if such
       activities are …

             (B) located in a State that permits such gaming for any purpose by any
       person, organization, or entity.

25 U.S.C. § 2710(d)(1)(B) (emphasis added). The dissenting opinion in Rumsey is

instructive:

       Thus the state must negotiate with a tribe if the state “permits such gaming.”
       The Rumsey opinion regards the key question as being whether the word
       “permits” is ambiguous; it holds that the word is not ambiguous, so the State
       need not bargain. But the proper question is not what Congress meant by

10
   Oklahoma’s Office of Attorney General has purportedly applied the game-specific
approach, which is clearly more favorable to the State. See 1993 OK AG 1, ¶¶ 13-32; 2020
OK AG 8, ¶¶ 17-18. Regardless, this is an issue of federal – not state – law. See State ex
rel. Clark, 904 P.2d at 20; Kansas ex rel. Stephan, 1993 WL 192809, at *5.

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       “permits,” but what Congress meant by “such gaming.” Did it mean the
       particular game or games in issue, or did it mean the entire category of Class
       III gaming? The structure of IGRA makes clear that Congress was dealing
       categorically, and that a state’s duty to bargain is not to be determined game-
       by-game. The time to argue over particular games is during the
       negotiation process.

       The only natural reading of section 2710(d)(1)(B) is that, when Congress
       says “Class III gaming activities shall be lawful ... if located in a State that
       permits such gaming,” then “such gaming” refers back to the category of
       “Class III gaming,” which is the next prior use of the word “gaming.”

Rumsey, 64 F.3d at 1254 (dissent) (emphasis added). Further, as the Second Circuit has

held, IGRA’s requirement that the state negotiate with Indian tribes in good faith would be

rendered meaningless if Indian gaming was subject to precisely the same rules and

regulations as nontribal gaming:

     Under the State’s approach, on the contrary, even where a state does not prohibit
     class III gaming as a matter of criminal law and public policy, an Indian tribe
     could nonetheless conduct such gaming only in accordance with, and by
     acceptance of, the entire state corpus of laws and regulations governing such
     gaming. The compact process that Congress established as the centerpiece of the
     IGRA’s regulation of class III gaming would thus become a dead letter; there
     would be nothing to negotiate, and no meaningful compact would be possible.

Mashantucket Pequot Tribe, 913 F.2d at 1030–31.

       Interpreting Section 2710(d)(1)(B) pursuant to the categorical approach (as the

Court should), because Oklahoma merely regulates class III gaming, but does not prohibit

it, the State is required to negotiate all forms of class III gaming upon request by a Tribe.

              2.     Non-house banked games and event wagering are also a proper
                     subject of a compact under the game-specific approach.

       Even under the game-specific approach, the State has a duty to conduct negotiations

regarding house-banked card and table games and event wagering, if requested by a Tribe,

if those specific games are permitted for any purpose by any person, organization or entity.

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As applied by the Office of Attorney General in 1993 OK AG 1, supra, those games do

not need to be permitted in a certain way or at certain locations to be the proper subject of

gaming compact negotiations.

       House-Banked Card and Table Games. Card and table games are regulated, though

not prohibited, in Oklahoma. The STGA expressly authorizes compacting tribes to conduct

both card and table games. See 3A O.S. § 280, Part 3.5, § 280.1(A). Table games are highly

regulated in Oklahoma; indeed, they are currently permitted only by compacting tribes,

where the “tribe has no interest in the outcome of the game,” such as tournaments. See id.

§ 280.1(A). By contrast, a “banked game is one in which there is no common pot but

instead there is a bank who pays the winners and collects from the losers.” Seminole Tribe

of Florida v. Florida, 219 F. Supp. 3d 1177, 1185 (N.D. Fla. 2016). A “house-banked”

game is one in which the house (here, the tribal operator) acts as the bank. In Florida, for

some period of time, only Indian tribes were authorized to offer banked games – nontribal

operators (cardrooms) were not.

     Because of this statute, the Tribe’s authority under the Compact to conduct
     banked card games afforded the Tribe the right to conduct banked card games
     without competition from cardrooms. This was perhaps the most important
     benefit the Tribe obtained under the Compact. The most important benefit to the
     State was more than a billion dollars.

Id., at 1182 (emphasis in original). In other words, those tribes were afforded the

opportunity to offer forms of gaming not available to nontribal operators. Similarly, in

Oklahoma, tribes alone are permitted to offer non-banked table games, pursuant to an

amendment to the STGA. See 3A O.S. § 280.1; see also 3A O.S. § 262(H) (prohibiting

nontribal entities from offering house-banked card and table games). Because card and


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table games are regulated in Oklahoma (e.g., with regard to “banking”), but not prohibited,

they are clearly the proper subject of a State-Tribal gaming compact negotiations.

       Event Wagering. Likewise, the State heavily regulates, but does not prohibit, event

wagering. For example, Oklahoma broadly permits wagering on horse racing events, both

inside and outside of Oklahoma. See, e.g., 3A O.S. §§ 205.6, 265, 266. Additionally,

Oklahoma permits compacting Indian tribes to offer gaming tournaments. See id. § 280.1.

Finally, Oklahoma exempts athletic events from the prohibition against “betting” under

Oklahoma’s criminal law under certain circumstances (e.g., if accomplished through pool

wagering). See 21 O.S. § 981; see also Murphy v. Nat'l Collegiate Athletic Ass'n, 138 S.

Ct. 1461, 1478 (2018) (holding that federal statute prohibiting state authorization of sports

gambling violates the anticommandeering rule). Because Oklahoma’s law relating to event

wagering is merely a form of strict regulation, but not a complete prohibition, event

wagering is a proper subject of compact negotiations.

              3.     IGRA requires the State to negotiate on forms of gaming not yet
                     legalized for nontribal entities.

       Even if house-banked card and table games and event wagering are not yet

authorized by state law for nontribal entities, that does not mean they are not an appropriate

subject for gaming compacts entered by the Governor. According to the Tenth Circuit, a

state has “a duty to negotiate for terms beyond those [the state’s] law expressly permits.”

N. Arapaho Tribe, 389 F.3d at 1313. As represented to DOI by the Otoe and Comanche,

State-Tribal compacts regularly address forms of gaming not yet authorized under state

law. See Ex. 2 (Otoe/Comanche Letter), at 5-7 (providing examples).



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       Moreover, nothing in IGRA prevents a state from entering into a compact

addressing, or indeed authorizing, forms of class III gaming that are not specifically

authorized for any nontribal entity. This raises a question not addressed by the Tenth

Circuit or those circuits which have applied either the categorical or game-specific

approach to determine which forms of gaming a state must negotiate with a Tribe. Those

cases do not speak to the question of whether a state may negotiate regarding additional

class III games, even if not expressly required to do so by IGRA.

     In Rumsey, the court observed that “a state need only allow Indian Tribes to
     operate games that others can operate, but need not give tribes what others cannot
     have.” Rumsey settled the question of whether a state must negotiate class III
     gaming compacts with Indian tribes when the state does not permit those
     activities for anyone. The decision does not address the issue presented here—
     whether the state may negotiate class III gaming compacts with Indian tribes even
     if the state does not permit those activities for non-Indians. Plaintiffs’ argument
     that this “is a distinction without a difference,” simply restates their position that
     a state may not affirmatively permit Indian tribes to engage in class III gaming
     without opening up such gaming to everyone else. Neither the “any person,
     organization, or entity” requirement nor Rumsey supports the plaintiffs’ position.

     In short, the court concurs with the Secretary that the exclusive class III gaming
     compacts … are within the plain language of IGRA.

     ***

     Further, California’s decision to “permit” tribes to operate class III gaming
     facilities within the context of IGRA and the compacts, while denying those
     rights to other persons, organizations, and entities, is a policy judgment, which
     whether one agrees with it or not, does not conflict with IGRA’s goal of
     maintaining state authority while protecting Indian gaming from discrimination.
     By contrast, to interpret IGRA to require the states to [choose] between no class
     III gaming anywhere and class III gaming everywhere would not further any of
     IGRA’s goals and would limit the states’ authority and flexibility without any
     resulting benefit to the tribes.

Artichoke Joe’s v. Norton, 216 F. Supp. 2d 1084, 1122–23, 1126 (E.D. Cal. 2002), aff'd

sub nom, Artichoke Joe's California Grand Casino v. Norton, 353 F.3d 712, 722 (9th Cir.

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2003) (holding that IGRA “does not compel a reading of ‘permits such gaming’ that

requires California to legalize non-Indian class III gaming before executing valid compacts

under IGRA”) (citations omitted) (emphasis added). If states were not permitted to enter

into gaming compacts with Indian tribes that authorized forms of class III gaming generally

prohibited by nontribal entities, the concept of “exclusivity” giving rise to the state’s ability

to collect fees would be eviscerated.

       The Governor is not seeking to unilaterally change state law. Nothing in the 2020

Compacts makes any change to state legislation; the compacts affect activities conducted

by Tribes on Indian lands. Accordingly, the Court should affirm that the Governor is

authorized to negotiate and enter into new or amended gaming compacts with Tribes that

address all forms of class III gaming and has the authority to bind the State to such

compacts under his constitutional authority and 74 O.S. § 1221, even if those forms of

gaming are not yet authorized for nontribal entities under Oklahoma law.

                                        CONCLUSION

       Based upon the foregoing arguments and authorities, the Court should issue an order

clarifying that the Governor has authority to participate in court-ordered mediation in good

faith, including without limitation authority to negotiate and enter new or amended gaming

compacts on behalf of the State that address house-banked card and table games and event

wagering.




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                             CERTIFICATE OF SERVICE

       I hereby certify that on May 28, 2020, I electronically transmitted the attached
document to the Clerk of Court using the Electronic Filing System for filing. Based on the
records currently on file in this case, the Clerk of Court will transmit a Notice of Electronic
Filing to those registered participants of the ECF System.


                                           s/Phillip G. Whaley
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